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                    IN THE UNITED STATES DISTRICT COURT OF
                        THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION

Donald Broussard                           §
                                           §
       Plaintiff                           §
                                           §
v.                                         §        C.A. NO. 3:13-cv-349
                                           §
ENI US Operating Co., Inc.                 §
                                           §
       Defendant                           §

                             PLAINTIFF’S PRETRIAL BRIEF

       In accordance with the Court’s Local Rules and Procedures, Plaintiff submits the

instant Pretrial Brief in regard to the above numbered caused.

                                               I.

                                        Background

       On or about June 29, 2013, Plaintiff Donald Broussard (“Broussard”) was an operator

employed by Wood Group PSN, Inc. (“Wood Group”) and assigned to work on offshore

facilities owned by Arena Energy. However, Defendant ENI US Operating Co., Inc. (“ENI”)

had a shortage of operators on its EW-921 A-Morpeth East platform. Broussard’s Wood

Group supervisor sent him on a temporary “fill-in” hitch on ENI’s platform on the Outer

Continental Shelf of Louisiana.

       Broussard showed up for his short assignment on the EW-921 with his own tools that

he used on the platform on a daily basis. He had been trained solely by Wood Group. He

was paid a salary and benefits solely from Wood Group. His initial orientation on the

platform was performed by a Wood Group medic. When he had questions about operating

the platform, he relied primarily on a fellow Wood Group employee on the platform with
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him. Every single document produced in this case identifies Broussard as a Wood Group

employee.     Even the Master Services Agreement between ENI and Wood Group

unequivocally prohibits Broussard from being considered a borrowed servant of ENI.

       When Broussard was on the ninth day of his temporary “fill-in” hitch (June 29, 2013),

A supervisor employed by ENI, James Gulde, ordered Broussard to move a 129-pound ball

valve. Gulde admitted during his deposition that given the weight of the ball valve, moving

it should have been a two-man job, or one that required mechanical assistance. It was while

he was carrying this 129-pound ball valve that Broussard severely injured his lower back.

Broussard herniated a disk as a result of the incident and has already undergone three

surgeries at the L5-S1 level.

       Broussard has continued to actively treat for these injuries and, as ordered by his

treating physicians, has not returned to full-time employment since the incident.

Consequently, Broussard filed suit against Defendant for negligence and gross negligence.

                                            II.

                                  Memorandum of Law

       Jurisdiction of this cause arises under The Outer Continental Shelf Lands Act

pursuant to 28 U.S.C. § 1331. OCSLA includes a congressionally mandated choice of law

provision requiring that the law of the adjacent state is to apply even in the presence of a

contractual choice of law provision to the contrary. Union Texas Petroleum Corp. v. PLT

Engineering, Inc., 895 F. 2d 1043, 1050 (5th Cir. 1990). OCSLA adopts the law of the state

adjacent to the platform as surrogate federal law. Snyder Oil Co. v. Samedan Oil Co., 208

F.3d 521, 523 (5th Cir. 2000).

       Courts have addressed the issue of an oil/gas platform located offshore for purposes
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of supplementing federal law, finding that Texas negligence law could supplement where not

inconsistent with federal law because the oil platforms at issue were adjacent to the state of

Texas. See Petri v. Kestrel Oil & Gas Properties, L.P., 878 F. Supp. 2d 744 (S.D. Tex.

2012); see also Arsement v. Spinnaker Exploration Co., LLC, 400 F.3d 238, 241-45 (5th Cir.

2005) (applying Texas negligence law to OCLSA action where accident occurred on offshore

drilling platform adjacent to Texas). Courts have also applied Louisiana law when the

adjacent state for the offshore Platform is Louisiana. Chevron Oil Co. v. Huson, 404 U.S. 97

(1971), disapproved of on other grounds by Harper v. Virginia Dept. of Taxation, 509 U.S.

86 (1993).

        Considering the EW-921 A-Morpeth East platform where the incident occurred is

located off the shores of Louisiana, the law of Louisiana must be used to supplement federal

law in this matter. Consequently, Broussard has submitted portions of the joint charge based

on Louisiana negligence standards.

        The Louisiana Civil Code provides that “[e]very act whatever of man that causes

damage to another obliges him by whose fault it happened to repair it.” It further provides

that “[e]very person is responsible for the damage he occasions not merely by his act, but by

his negligence, his imprudence, or his want of skill.”1 Negligence is defined as conduct

which falls below the standard of care established by law for the protection of others against

an unreasonable risk of harm.2

        Broussard seeks the following categories of damages consistent with Louisiana law:


1La. Civil Code articles 2315, 2316; Veals v. Nautical Adventures, LLC, 354 Fed.Appx. 843, 845 (5th Cir. 2009);
Friou v. Phillips Petroleum Co., 948 F.2d 972, 975 (5th Cir. 1991).

2Detraz v. Lee, 05‐1263 (La. 1/17/07), 950 So.2d 557, 562; Dobson v. Louisiana Power and Light Company,
567 So.2d 569, 574 (La.1990).

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(1) past medical damages; (2) future medical damages; (3) past loss of earning capacity; (4)

future loss of earning capacity; (5) past physical pain and suffering and mental anguish; (6)

future physical pain and suffering and mental anguish; (7) past impairment; (8) future

impairment; (9) past disfigurement; (10) future disfigurement; and (11) exemplary damages.



                                          Respectfully Submitted,

                                          ARNOLD & ITKIN LLP

                                          /s/ Kurt B. Arnold
                                          _______________________________
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                             CERTIFICATE OF SERVICE

       I hereby certify that on December 22, 2014, I electronically filed the foregoing
pleading with the Clerk of Court, using the CM/ECF system which will send notification
of such filing to all counsel of record.

                                        /s/ Kurt B. Arnold
                                        _______________________________________
                                        Kurt B. Arnold




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